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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MARCUS GRAY P/K/A FLAME; LECRAE      )
MOORE P/K/A LECRAE; EMANUEL          )
LAMBERT; and CHIKE OJUKWU,           )
                                     )
            Plaintiffs,              )
                                     )
      v.                             )                   Civil Action No.
                                     )
KATY PERRY; JORDAN HOUSTON           )                   JURY TRIAL DEMANDED
P/K/A JUICY J; LUKASZ GOTTWALD P/K/A )
DR. LUKE; SARAH THERESA HUDSON;      )
MAX MARTIN; HENRY RUSSELL WALTER )
P/K/A CIRKUT; and CAPITOL RECORDS,   )
LLC,                                 )
                                     )
            Defendants.              )


                                          COMPLAINT

                                           Introduction

       1.      This is an action for injunctive and other relief under the Copyright Act of 1976,

as amended, 17 U.S.C. § 101 et seq.(the “Copyright Act”), arising out of Defendants’ ongoing

infringement of Plaintiffs’ copyright in their Christian gospel hip hop song entitled “Joyful

Noise.”

       2.      By any measure, Defendants’ “Dark Horse” song is a mega-hit. Defendant Katy

Perry has performed the song on national television and at sold-out concerts around the nation. It

has been at or near the top of various Billboard and other music charts since its release last

September. Millions of digital copies have been sold and downloaded. The song has been in near

constant play on Top 40 radio stations throughout the United States. As of this week, more than
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435 million viewers worldwide have watched the official music video of the Dark Horse song on

YouTube.

       3.      By any measure, the Dark Horse song also constitutes an infringement of

Plaintiffs’ copyright in their Christian gospel song Joyful Noise, released five years before Dark

Horse. Specifically, Defendants’ unauthorized reproduction, distribution, and public performance

of Plaintiffs’ musical composition constitute infringement of plaintiffs’ exclusive rights in their

copyright.

       4.      And by any measure, the devoutly religious message of Joyful Noise has been

irreparably tarnished by its association with the witchcraft, paganism, black magic, and

Illuminati imagery evoked by the same music in Dark Horse. Indeed, the music video of Dark

Horse generated widespread accusations of blasphemy and an online petition signed by more

than 60,000 demanding removal of an offensive religious image from the video.

                                           The Plaintiffs

       5.      Plaintiff Marcus Gray is an American Christian hip hop musician and a citizen of

Missouri who resides within the Eastern Division of this District.

       6.      Plaintiff Chike Ojukwu is an American Christian hip hop musician and record

producer and a citizen of Missouri who resides within the Eastern Division of this District.

       7.      Plaintiff Lecrae Moore p/k/a Lecrae is an American Christian hip hop musician

and record producer and a citizen of Georgia who resides in Atlanta, Georgia.

       8.      Plaintiff Emanuel Lambert is an American Christian hip hop musician and record

producer and a citizen of Pennsylvania who resides in Aldan, Pennsylvania.




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                                        The Defendants

         9.    Upon information and belief, Defendant Katy Perry (f/k/a Katheryn Elizabeth

Hudson) is a citizen of California presently residing at 7310 Mulholland Drive, Los Angeles, CA

90046.

         10.   Upon information and belief, Defendant Jordan Michael Houston (p/k/a Juicy J) is

a citizen of Tennessee presently residing at 411 North Oakhurst Drive #402, Beverly Hills, CA

90210.

         11.   Upon information and belief, Defendant Lukasz Gottwald (p/k/a Dr. Luke) is a

citizen of California presently residing at 8700 Hollywood Boulevard, West Hollywood, CA

90069.

         12.   Upon information and belief, Defendant Max Martin is a citizen of California

presently residing at 882 North Doheny Drive, West Hollywood, CA 90069.

         13.   Upon information and belief, Defendant Henry Russell Walter (p/k/a Cirkut) is a

citizen of California residing at 26664 Seagull Way, Unit A211, Malibu, CA 90265-4543.

         14.   Upon information and belief, Defendant Sarah Theresa Hudson is a citizen of

California residing at 5000 Kester Ave., #5 Sherman Oaks, CA 91403.

         15.   Defendant Capitol Records, LLC (“Capitol Records”) is a Delaware limited

liability company with its principal place of business at 150 Fifth Avenue, New York, New York

10011.

                                    Jurisdiction and Venue

         16.   This is an action for copyright infringement arising under the Copyright Act. The

Court has subject matter jurisdiction under 17 U.S.C. § 501 and 28 U.S.C. §§ 1331 and 1338(a).




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       17.     This Court has personal jurisdiction over defendants because Defendants have

purposefully directed their marketing and promotion of the Dark Horse song toward Missouri

residents, have profited from Missouri residents purchasing downloads of the Dark Horse song

and viewing the music video of the Dark Horse song, have authorized, arranged for and/or

performed the Dark Horse song on national television broadcasts into Missouri, have engaged in

infringing activities that have damaged the two Missouri Plaintiffs, and have otherwise had

sufficient contacts with the State of Missouri and this District. Defendants thus do continuous

and systematic business or have a place of business in this judicial district.

       18.     Venue is proper in this district under 28 U.S.C. §§ 1391(b), (c) and 1400(a).

                                 Plaintiffs’ Song: “Joyful Noise”

       19.     Plaintiffs are the authors and creators of an original musical composition

embodied in the sound recording entitled Joyful Noise.

       20.     Plaintiffs created Joyful Noise in 2007 and published it in March of 2008.

       21.     Plaintiffs are and have been at all times the sole owners of the copyright in the

song Joyful Noise. Pending before the U.S. Copyright Office is their application to register the

copyright in Joyful Noise, filed on June 3, 2014 and bearing file number 1-1480799311.

       22.     Pursuant to Section 106 of the Copyright Act, 17 U.S.C. § 106, Plaintiffs, as

owners of the copyright in Joyful Noise, are the owners of the exclusive rights to reproduce that

song, to distribute copies of that song, to prepare derivative works based upon that song, and to

publicly perform that song.

       23.      The Joyful Noise song appears on the album entitled Our World: Redeemed,

which was released in 2008.




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        24.    The album Our World: Redeemed received a Grammy Award nomination for Best

Rock or Rap Gospel Album and a Stellar Award nomination for Rap Album of the Year in 2008.

        25.    The song Joyful Noise received a 2008 Gospel Music Association Dove Award

nomination for the Best Rap/Hip Hop Recorded Song of the Year.

        26.    As of this week, close to 3 million viewers have watched the music video versions

of Joyful Noise on YouTube.

                               Defendants’ Song: “Dark Horse”

        27.    In September of 2013, Capitol Records released the “Dark Horse” song

(“Defendants’ Song”) as the first promotional single from Defendant Perry’s fourth studio

album, entitled Prism.

        28.    On information and belief, based in part on U.S. Copyright Registration No.

PA0001871672, the six individual Defendants in this action claim to be authors of Defendants’

Song.

        29.    On or about October 5, 2013, Defendants’ Song debuted at Number 17 on the

Billboard Hot 100 chart.

        30.    In October of 2013, Capitol Records released the album Prism, and two months

later Capital released Defendants’ Song as the album’s third official single.

        31.    By January of 2013, Defendants’ Song had reached Number 1 on the Billboard

Hot Digital Songs chart and the Billboard Hot 100 chart, where it remained for weeks.

                      Defendants’ Infringement of Plaintiffs’ Copyright

        32.    Defendants never sought or obtained permission from Plaintiffs to use the Joyful

Noise song in creating, reproducing, recording, distributing, selling, or publicly performing

Defendants’ Song.



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       33.     Plaintiffs never gave any of the Defendants permission, consent, or a license to

use Joyful Noise for any purpose, including creation of a derivative work based on Joyful Noise.

       34.     Defendants have sold, performed, and otherwise commercially exploited and

profited from Defendants’ Song in numerous ways, included but not limited to the following:

               a.     Selling the compact disc-release of Prism to the public on numerous

       websites and through retail stores throughout the nation; and

               b.     Duplicating and uploading the digital version of Defendants’ Song to,

       among other sites, iTunes, Amazon, Google Play, and eMusic for purchase by

       consumers.

       35.     In addition, Defendants Perry and Houston publicly performed Defendants’ Song

on or about January 26, 2014 at the nationally televised 56th Annual Grammy Awards®, and

Defendant Perry has performed Defendants’ Song at various concerts and music festivals to tens

of thousands of spectators throughout the nation and overseas.

       36.     In addition, Capitol Records prepared the music video of Defendants’ song and, in

conjunction with its affiliated company Vevo, LLC, arranged for its commercial syndication and

publication on YouTube and other commercial sites, which have been viewed by the public more

than 435 million times, thus generating additional profits for Defendants.

       37.     Defendants’ actions, as alleged above, constitute infringement of Plaintiffs’

copyright in Joyful Noise. Among other things, Defendants’ actions violate Plaintiffs’ exclusive

rights in Joyful Noise under Section 106 of the Copyright Act, 17 U.S.C. § 106.

       38.     These Defendants have already infringed Plaintiffs’ copyright and caused damage

and irreparable harm through their unauthorized copying, distribution, and public performance of

Defendants’ Song. If not enjoined, they will continue to cause Plaintiffs irreparable harm.



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                                                                         JURY TRIAL DEMANDED

       39.     So, too, Defendants unlawful actions have caused irreparable harm to Plaintiffs’

reputation and the reputation of the Joyful Noise song within the Christian gospel music world

by, among other things, creating a false association between the music of Joyful Noise and the

anti-Christian witchcraft, paganism, black magic, and Illuminati imagery evoked by Defendants’

Song, especially in the music video version.

       40.     Plaintiffs have given written notice of the infringement to Defendants or their

representatives.

       41.     Defendants have continued to infringe the copyright in Joyful Noise.

       WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and against

Defendants as follows:

       A.      A permanent injunction enjoining and restraining Defendants, their agents,

servants, employees, attorneys, partners, licensees, divisions, affiliates, parent corporation(s),

and all others in active concert or participation with any of them from copying, distributing,

publicly displaying, or otherwise making any use of the Joyful Noise or Defendants’ Song;

       B.      An award of monetary damages sufficient to compensate Plaintiffs for the injuries

suffered as a result of Defendants’ wrongful conduct;

       C.      An award of Defendants’ profits and unjust enrichment realized from their

infringement and other wrongful conduct;

       D.      An award to Plaintiffs of interest, costs and reasonable attorney’s fees expended

in this action; and

       E.      An award of such other and further relief as the Court deems just and proper.

                                              JURY DEMAND

       Plaintiff respectfully requests a jury trial.



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                                                            JURY TRIAL DEMANDED



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                                         —and—

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